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Mary B. Logan
Plaintiff Pro-Se
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                              UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW JERSEY


_______________________________________________

MARY BASILE LOGAN, individually and on behalf             |
of those similarly situated, Pro-Se;                      |
                                                          |
                             Plaintiff,                   |
                                                          |
MERRICK GARLAND, in his official capacity                 |
Attorney General, Department of Justice; et al.           |
                                                          | CIVIL DOCKET: 3:24-CV-00040
                             Defendants.                  |       ZNQ-TJB
                                                          |
________________________________________________

          PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS,

                                      KATHY HOCHUL AND
                                        LETITIA JAMES




Dated April 16, 2024                                                   Mary Basile Logan
                                                                       Plaintiff, Pro-Se
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              Plaintiff, Mary Basile Logan, individually and on behalf of those similarly situated,

      does hereby provide the Honorable Court reply by Opposition Motion to Kathy Hochul, in her

      capacity as Governor of New York, and Letitia James, in her capacity as Attorney General of

      New York, herein referred to as “Defendants”, Plaintiff attaches support to same as Exhibits,

      as follows:

                                         PRELIMINARY STATEMENT

         1.       Plaintiff has set forth her cause of action in the Amended Complaint with

      supplements to same dated April 1, 2024 and April 8, 2024, in addition to 34 Exhibits. The

      complex history, articulated in excruciating details through the Exhibits, are absolutely true

      and factual, sourced records of and belonging to Congressional, Senate, FBI and CIA

      repositories. The remainder of the Exhibits were open source obtained while being confirmed

      through two and, in some cases, three source confirmations using scientific methodology of

      analysis.

         2.       Plaintiff states that Defendants’ Motion to Dismiss overtures and redundant

      disparaging language on Fed. R. Civ. P. 8, inferring that the Defendants’ expectation to have

      been served a narrowly written complaint; unfortunately, the magnitude of constitutional

      encroachment which is snowballing to crescendo requires the history of “how, where or when”

      Am. Compl. p.10, ¶ 2, to be disclosed. Plaintiff states as a matter of record that the knowing

      actions to withhold transparency of the stated historicity has, to this point, resulted in

      unwitting consent by the People to the encroachments on Civil Rights. These encroachments

      are the how, where or when which birthed Plaintiff’s action, respecting the Honorable Court’s

      time.




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         3.    Plaintiff states, that the Defendants remains central figures to the Plaintiff’s action as

      well those facts herein disclosed concerning her claims of harm.

         4.    Plaintiff has no benefit of counsel as set forth in the Amended Complaint,

      conforming to Federal Rules of Civil Procedure in plain language.

         5.    Plaintiff contests and absolutely refutes the claims set forth in the DNC and RNC

      presented Motions to Dismiss the Amended Complaint, the inclusive rebuttals and remedy are

      stated herein, including:

                 a. Fed. R. Civ. P 4(k)(1)(A) “[c]ontacts with ]New Jersey] citizens that take place

                     outside the state’ are insufficient to establish the minimum purposeful contact

                     within New Jersey required by the Due Process clause. O’Connor, 496 F.3d. at

                     Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93,96 (3d Cir. 2004) (citing N.J. Ct.

                     R.R. 4:4-4). As a result, “[a] district court may exercise in personam

                     jurisdiction over a nonresident so long as the defendant has ‘certain minimum

                     contacts with [the forum] such that the maintenance of the suit does not offend

                     traditional notions of fair play and substantial justice.’” Control Screening

                     LLC. v. Tech. Application & Prod. Co., 687 F.3d 163,167 (3d Cir. 2012), citing

                     Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945). “[T]he plaintiff bears

                     the burden to prove, by a preponderance of the evidence, facts sufficient to

                     establish personal jurisdiction.” Control Screening, 687 F.3d at 167 (internal

                     quotations omitted).

                 b. Fed. R. Civ. P. 8 and 8a Defendant refers to amended complaint content, “a

                     short and plain statement of the claim showing that the pleader is entitled to

                     relief.” p.2 ¶ 1.



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                   c. Fed. R. Civ. P. 12(b)(1)(2) and (6).

                   d. 11th Amendment.

         6.    Plaintiff requests the Honorable Court’s courtesy as to the complex history presented,

      absolutely necessary given the magnitude of constitutional encroachments, up to and including

      certain risk of national security of these United States, citing the military escalations between

      the nation-states of Iran and Israel, germane to Plaintiff’s action before the Court as well the

      Defendants’ culpability.

                                       PROCEDURAL BACKGROUND

         7. Plaintiff realleges and incorporates by reference all paragraphs as set forth in the

      Amended Complaint as to the paragraphs below set forth fully herein.

         8. Plaintiff attaches the Supplemental Exhibits (as enumerated 1-39, absent 20) ECF 45-1;

      45-2; 45-3; 45-4; 45-5; 45-6; 45-7; 45-8; 45-9; 45-10; 45-11; 45-12; 45-13; 45-14; 45-15; 45-

      16; 45-17; 45-18; 45-19; 45-20; 45-21; 45-21; 45-22; 46; 46-1; 46-2; 55; 55-1; 55-2; 55-3; 55-

      4 and 55-5, in support of the herein claims of harm.

         9. Plaintiff attaches ECF 55-5, referring to ¶ 17, xx, i, referring to Plaintiff guarantor

      capacity for rental property in Brooklyn, New York from 2017 through 2022, establishing

      residency.

         10. As to Fed. R. Civ. P 4(k)(1)(A) “[c]ontacts with ]New Jersey] citizens that take place

      outside the state’ are insufficient to establish the minimum purposeful contact within New

      Jersey required by the Due Process clause. O’Connor, 496 F.3d. at Miller Yacht Sales, Inc. v.

      Smith, 384 F.3d 93,96 (3d Cir. 2004) (citing N.J. Ct. R.R. 4:4-4). As a result, “[a] district court

      may exercise in personam jurisdiction over a nonresident so long as the defendant has ‘certain

      minimum contacts with [the forum] such that the maintenance of the suit does not offend



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      traditional notions of fair play and substantial justice, Plaintiff restates that her entire extended

      family resides in the State of New York from which the Plaintiff, a State from which she

      herself originated and the State in which her sibling died during COVID-19.

          11. Plaintiff refers to ECF 53-2, p.6 ¶ 2, responding to same in sequence of statements

      presented.

                   a. Plaintiff states, irrefutably, that the Defendants, KATHY HOCHUL and

                      LETITIA JAMES, averted the standing New York State Public Health Law,

                      compromising human health, resulting in death.

                   b. Plaintiff states that the Defendants, KATHY HOCHUL and LETITIA JAMES

                      knowingly chose to put their relationship with co-Defendant CHARLES

                      “CHUCK” SCHUMER and his political donor interests, specifically

                      SentosaCare, see ECF 45-20.

                   c. Plaintiff states that as a direct consequence to the dereliction of the Defendants,

                      KATHY HOCHUL and LETITIA JAMES, an innocent member of a protected

                      class, handicapped, was raped, see ECF 45-19. Moreover, the negligence of the

                      business entity SentosaCare was and remains active in the ownership of the

                      Wanaque Center for Nursing and Rehabilitation in New Jersey as well

                      properties in New York; the inclusive properties have an appreciative history of

                      neglect and jeopardy to resident health and safety, underscoring the dereliction

                      of the Defendants, KATHY HOCHUL, LETITIA JAMES and CHARLES

                      “CHUCK” SCHUMER.

                   d. Plaintiff further states that the Defendants, KATHY HOCHUL and LETITIA

                      JAMES did not simply “repress(ed) information about COVID-19



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                    (or)…properly enforce New York State Public Health Laws in New York,” EFC

                    53-2, p.6 ¶ 3, the Defendants blatantly ignored them to the peril of the citizens

                    of New York.

                 e. Plaintiff states as a matter of record, EFC 45-21, SentosaCare owns and

                    operates 25-nursing home facilities in New York, the absence of reporting

                    under the Department of Health which issues violations and fines to nursing

                    homes, under character and competency recommendations, is not required to

                    report on the inclusive facilities, thereby allowing a crevice by which the

                    Defendants, KATHY HOCHUL, LETITIA JAMES and CHARLES “CHUCK”

                    SCHUMER have exchanged political homage at the expense of human lives,

                    extending to peril of life itself.

                 f. Plaintiff states, as evidenced by EFC 55-3, the Defendants, KATHY HOCHUL

                    and LETITIA JAMES, was a blatant dereliction, exposing front-line workers

                    who traversed between the States of New York and New Jersey, specifically

                    discussed among the YouTube recordation repository.

                                         FACTUAL BACKGROUND

         12. Plaintiff refers t, ECF 55-3, which provides a detailed repository of the mutual aid and

      collaboration of leadership throughout COVID-19 during the period of 2019 – 2022 between

      the Governors of New York and New Jersey, among others.

         13. Plaintiff states that the joint venture of the Port Authority of New York and New Jersey

      has been affirmed and codified since 1921, an interstate compact authorized by the United

      States Congress.




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          14. Plaintiff states that the joint venture of the New York/New Jersey High Intensity Drug

      Trafficking Areas (“NY/NJ HIDTA”), a collaboration of law enforcement investigations and

      joint trainings was established in 1990 as a drug prohibition enforcement program under the

      Anti-Drug Abuse Act of 1988 by Congress, HIDTA established under the Office of national

      Drug Control Policy Reauthorization Act of 2006 by Congress.

          15. Plaintiff states, the facts above disclose evidenced historic longevity, aligning New

      York and New Jersey’s connectedness through policy, federal Acts and at times national

      emergency, as was the case under the auspices of COVID-19, consented by the Governors as a

      matter of oral historic record; the Defendants, KATHY HOCHUL and LETITIA JAMES

      served at the time, Plaintiff restates cause of action.

          16. Plaintiff restates claims of mortgage fraud and malfeasance against Defendant,

      LETITIA JAMES, a gross abuse of capacity and oath to the People.

          17. Plaintiff states that for the Honorable Court to consider dismissal of the Defendants,

      KATHY HOCHUL and LETITIA JAMES, it would require the matter above and newly stated,

      as below.

          18. Plaintiff states that Imran Awan worked for Representatives Gregory Meeks, Yvette

      Clarke, Hakeem Jeffries at their Brooklyn, New York offices, Joseph Crowley at his Queens,

      New York office where he served as DNC Chairman. Plaintiff reserves the right to call the

      foregoing parties as co-Defendants to this action.

          19. Plaintiff states that the foregoing actions accumulate with those of the historical record,

      of and belonging to BCC International and specifically the Awan Brothers who are referenced

      by name lineage in and among the BCC International records repository, see ECF 45-1, p.19,




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      64, 89, 101, 102, etc. Plaintiff states direct relation between Amjad Awan, head of banking for

      BCC International and the Awan Brothers.

         20. Plaintiff states that Amjad Awan (BCC International) worked out of Tampa and Miami,

      Florida which also directly correlates to Defendants, DEBBIE WASSERMAN SCHULTZ, the

      DNC, and by extension given the recurrence of facts, investigative compromise and ongoing

      malfeasance undermining the Constitution of these United States, the inclusive Defendants,

      MERRICK GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A.

      WRAY, DENIS MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT

      CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR.,

      ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J. CHRISTIE, RICHARD “DICK”

      CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK

      HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R.

      BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE

      NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI,

      MATTHEW PLATKIN, KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN

      RICE, ADAM SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET

      YELLEN, ROD ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ,

      BILL NELSON, the DEMOCRATIC NATIONAL COMMITTEE, the REPUBLICAN

      NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM, UNITED HEALTHCARE,

      JAMES PITTINGER, LISA SELLA, and ROBERT JUNGE who have collectively and

      knowingly attempted to subvert the facts, evidence and truth from the People of these United

      States, literally manifesting a trojan horse within Congress through its’ IT department.




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           21. Plaintiff states that while serving in their capacities, past and present, the Defendants,

      KATHY HOCHUL and LETITIA JAMES have and continue to work directly in and among

      the Democratic National Committee (“DNC”), Chaired by Jaime Harrison, formerly Donna

      Brazile and prior by Defendant, DEBBIE WASSERMAN SCHULTZ as well as

      Representatives Yvette Clarke, Gregory Meeks, Hakeem Jeffries and Joseph Crowley.

           22. Plaintiff states that collaborations among the parties aforementioned extend to include

      the broader body of Defendants, MERRICK GARLAND, LLOYD AUSTIN, WILLIAM J.

      BURNS, CHRISTOPHER A. WRAY, DENIS MCDONOUGH, ALEJANDRO MAYORKAS,

      MARCIA FUDGE, ROBERT CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON,

      THOMAS KEAN SR., ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J.

      CHRISTIE, RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY,

      GEORGE W. BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER,

      ERIC HOLDER, JOSEPH R. BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY

      PELOSI, GEORGE NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH

      PERSICHILLI, SEJAL HATHI, MATTHEW PLATKIN, KATHY HOCHUL, ANDREW

      CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF, CHARLES “CHUCK”

      SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD ROSENSTEIN, HUMA

      ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL NELSON, the DEMOCRATIC

      NATIONAL COMMITTEE, the REPUBLICAN NATIONAL COMMITTEE, OCCIDENTAL

      PETROLEUM, UNITED HEALTHCARE, JAMES PITTINGER, LISA SELLA, and

      ROBERT JUNGE, some of whom gathered most recently at the White House, See EXHIBIT

      1.




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              23. Plaintiff states that the Defendants, KATHY HOCHUL, LETITIA JAMES, the DNC,

          XAVIER BECERRA, WILLIAM J. CLINTON, HILLARY R. CLINTON, CHRISTOPHER

          WRAY, Rahm Emanuel1, and others not yet named, imposed on the Awan Brothers

          investigations, knowingly and overtly, evidencing malice of forethought and planning,

          ensuring that the integrity of the inclusive investigations as well the determined outcome was

          compromised, thereby aiding and abetting the enemy and committing espionage against these

          United States. Plaintiff reserves the right to call the foregoing parties as Defendants to this

          action.

              24. Plaintiff states that Imran Awan came to the United States from Pakistan, first arriving

          in New York in 1997, (https://www.washingtonpost.com/investigations/federal-probe-into-

          house-technology-worker-imran-awan-yields-intrigue-no-evidence-of-

          espionage/201709/16/100b4170-93f2-11e7-b9bc-b2f7903bab0d) the benefactor of the

          Diversity Immigrant Visa program, also known as the green card lottery (See Pub. L. 101-649,

          104 Stat. 4978, enacted November 29, 1990, introduced by Senator Ted Kennedy in 1989,

          signed into law by George H. W. Bush on November 29, 1990).

              25. Plaintiff states that Imran Awan benefitted from the Diversity Immigration Visa

          program in advance of high school graduation, becoming a dual citizen of the United States in

          2004, retaining his Pakistan citizenship. Plaintiff will seek the designation (H-1, H-1B, H-1D,

          etc.) of the secured visa in discovery.

              26. Plaintiff states that the Honorable Judge Chutkan has affixed to the undercurrent BCC

          International scheme as evidenced in the legal prudence applied in the Awan case. The

          foregoing statement is magnified with the benefit of the historic facts, as below:


 1
  LU Staff, Awan Family got Favoritism from Pakistani Govt. in 2009; Claimed Intervention by Rahm Emanuel. November 15,
 2007. Accessed April 10, 2024, https://libertyunyielding.com/2017/11/15/awan-family-got-favoritism....

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                        a. The Democrat House Intel Committee members compromised themselves and

                             gave unfettered IT access to persons from a nation-state with a known

                             evidenced history of terrorism, these parties included Imran Awan, Abid Awan

                             and Jamal Awan.

                        b. The timing of the Russian hoax in relation to the Awan Brothers disclosure,

                             noting the evidenced statements and Exhibits presented by the Plaintiff which

                             irrefutably confirm that Russian interference in the elections was a fabrication

                             designed for a dual outcome manifestation; 1)mask the actions of the breach of

                             Constitutional thresholds to national security conducted through Defendant

                             DEBBIE WASSERMAN SHULTZ with the aid of ZAVIER BECERRA,

                             Gregory Meeks, Yvette Clarke, Hakeem Jeffries and Joseph Crowley

                             (Democratic Party Chair – Queens, NY); 2)Prevezon and Bill Browder, the

                             history of association with Defendant WILLIAM J. CLINTON and HILLARY

                             R. CLINTON as well the redundancy of actions to that of the Awan Brothers,

                             inclusive of the rental properties and government infiltrations (See ECF 45,

                             p.34, ¶73).

                        c. Plaintiff attaches Transcription of PowerPoint Presentation from House Office

                             of Inspector General of September 20, 2016, EXHIBIT 2. The House Report

                             concluded that the Awan Brothers made “unauthorized access” to

                             Congressional servers,2 citing behavior that mirrored a “classic method for

                             insiders to infiltrate data from an organization…they continued even after

                             orders to stop…there are indications that numerous members’ data may have


 2
  Rosiak, Luke. House Report Concludes Pakistanis Made ‘Unauthorized Access to Congressional Servers. January 16, 2018.
 Accessed April 14, 2024, https://dailycaller.com/2018/01/16/house-report-concludes-pakistanis-made...

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                  been secretly residing not on their designated servers, but instead onto one

                  server…the entire server was then physically stolen.”3 It would later be

                  disclosed that the “House Democratic Caucus, a sister group of the DNC that

                  was run at the time by then-Rep. Xavier Becerra” attempted to substitute a

                  server, aiding and abetting the criminal actions of the Awan Brothers,

                  maliciously interfering with an investigation – treasonous. The foregoing was

                  known by the inclusive body of Defendants MERRICK GARLAND, LLOYD

                  AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS

                  MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT

                  CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS

                  KEAN SR., ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J.

                  CHRISTIE, RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY,

                  JOHN KERRY, GEORGE W. BUSH, BARACK HUSSEIN OBAMA,

                  LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN,

                  JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE

                  NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI,

                  SEJAL HATHI, MATTHEW PLATKIN, KATHY HOCHUL, ANDREW

                  CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF, CHARLES

                  “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD

                  ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL

                  NELSON, the DEMOCRATIC NATIONAL COMMITTEE, the

                  REPUBLICAN NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM,



 3
     Ibid.

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                  UNITED HEALTHCARE, JAMES PITTINGER, LISA SELLA, and ROBERT

                  JUNGE, including the Honorable Judge Chutkan and others not yet named.

                  Plaintiff reserves the right to call additional Defendants to this action.

               d. Plaintiff states that the investigation, while compromised and potentially

                  incomplete, states that “an IT aide told the TheDCNF that colleagues deployed

                  to clean up after the Awans’ firing discovered that in many offices, computers

                  were set up to be nothing more than ‘thin clients” that were portals to an outside

                  computer. ‘They were using terminal servers; your desktop is projecting to you’

                  from a computer in a different location…found remote sessions that remained

                  active for months at a time…the data was always out of [the members]

                  possession. It was a breach.” The clear and present danger to these United

                  States was surreptitiously hidden from the public, absent judicial scrutiny and

                  allowing for the resulting consequences for which the Defendants had full and

                  absolute knowledge.

               e. The Awan Brothers destroyed servers in the residence before the FBI

                  investigators could access them.

               f. The Awan Brothers made unauthorized access to the House computer system on

                  more than one occasion. House information was discovered on external cloud

                  servers wherein the Awan Brothers had been responsible for such access and

                  movement of data.

               g. The FISA Memo of July 10, 2016 (redacted), provides that John Brennan

                  “reached out to his department at Google, requesting that they fund an

                  organization called CROWDSTIKE. Funding for the organization was to be



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                            used to produce documentation indicating that the files seized from the DNC

                            were a back perpetrated by agents linked to the Kremlin. Any documentation

                            indicating that the hack occurred locally was to be destroyed. The narrative

                            was to be pushed that the emails from John Podesta’s account were the result of

                            an elaborate internet phishing scheme…” 4

                        h. Plaintiff states that the inclusive Defendants, MERRICK GARLAND, LLOYD

                            AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS

                            MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT

                            CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS

                            KEAN SR., ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J.

                            CHRISTIE, RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY,

                            JOHN KERRY, GEORGE W. BUSH, BARACK HUSSEIN OBAMA,

                            LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN,

                            JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE

                            NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI,

                            SEJAL HATHI, MATTHEW PLATKIN, KATHY HOCHUL, ANDREW

                            CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF, CHARLES

                            “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD

                            ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL

                            NELSON, the DEMOCRATIC NATIONAL COMMITTEE, the

                            REPUBLICAN NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM,



 4
  Department of Justice via freedomforhumanity2016.wordpress.com. January 23, 2018. Here is the Much Discussed FISA
 Memo July 10, 2016. Accessed April 15, 2024 https://freedomforhumanity2016.wordpress.com/2018/01/23/here-is-the-much-
 discussed-fisa-memo-january-23-2018/

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                              UNITED HEALTHCARE, JAMES PITTINGER, LISA SELLA, and ROBERT

                              JUNGE were aware of the compromise to national security and knowingly

                              sought to shield their culpability putting these United States and her citizenry

                              on a perilous path – treasonous.

                         i. Plaintiff states that the leaked emails alleged to have been sent to WikiLeaks

                              and Julian Assange, those alleged to have implicated the sitting Chief

                              Executive, Donald John Trump, “were DNC staffers who leaked the

                              emails…colluding against Bernie Sanders and cheated him out of the

                              nomination.” According to reporting of H.A. Goodman, the Awan trial was

                              postponed to aid Defendant XAVIER BECERRA get elected as Attorney

                              General, California, presently he serves as Secretary of Health and Human

                              Services, a presidential appointment with advice and consent.

                         j. Plaintiff states that the evidence alleges that Seth Rich was killed. Photos 5

                              provide that on the evening of Rich’s murder, he was in the company of Imran

                              Awan. It is alleged that Defendant, HILLARY R. CLINTON arranged for the

                              murder by gang members of MS13.6

                         k. Plaintiff states that analysis of the inclusive data and facts provides that the

                              Awan Brothers had been utilizing dropbox for records storage of unauthorized

                              records, funneled outside of the Congressional IT structure. The analysis

                              provides treasonous compromise and actions on the part of the House

                              Democratic Caucus, in addition to the Defendants, MERRICK GARLAND,



 5
   Earley, Billy. California Attorney General seeks to postpone the Imran Trial. February 9, 2018. Accessed February 14, 2024
 https://patch.com/california/orange-county/california-attorney-general-seeks-postpone-imran-trial
 6
   Ibid.

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                  LLOYD AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS

                  MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT

                  CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS

                  KEAN SR., ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J.

                  CHRISTIE, RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY,

                  JOHN KERRY, GEORGE W. BUSH, BARACK HUSSEIN OBAMA,

                  LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN,

                  JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE

                  NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI,

                  SEJAL HATHI, MATTHEW PLATKIN, KATHY HOCHUL, ANDREW

                  CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF, CHARLES

                  “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD

                  ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL

                  NELSON, the DEMOCRATIC NATIONAL COMMITTEE, the

                  REPUBLICAN NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM,

                  UNITED HEALTHCARE, JAMES PITTINGER, LISA SELLA, and ROBERT

                  JUNGE. “Despite Democrats’ acute awareness of the importance of

                  cybersecurity after the DNC emails appeared on Wikileaks in July, 2016, the

                  employing members have gone to great lengths to avoid condemning Awan or

                  have said nothing about whether they checked their office data’s security

                  following the breach.”7




 7
     Ibid. 2.

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               l. The Defendant, DEBBIE WASSERMAN SCHULTZ advocated on behalf of

                  private loans for Imran Awan, the loan which was found by the originator to be

                  contextually fraudulent.

               m. The United States Congressional offices experienced an unprecedented volume

                  of hacking events during the period in which the Awan Brothers were

                  contracted. Records provide that Imran Awan required House central IT bend

                  the statutory rules for his access and use of the IT structure to limit paper trails

                  in his access to unusually high permissions which he sought access. Obviating

                  the paper trail dismissed the checks and balances, including disclosure of access

                  points, changes made, or information downloaded, accessed, or destroyed as

                  well nefarious upload of external information, malware, etc.

               n. The foregoing serious compromises to national security were fully documented

                  by at least three investigations (Capitol Police, the FBI, and House

                  Intelligence). Simultaneous to these events, claims were being professed

                  through media sources of Russian infiltration into the DNC servers which were

                  later found to be fabricated, as provided for in Plaintiff’s amended complaint.

               o. The Defendant, DEBBIE WASSERMAN SCHULTZ, DNC Chairwoman,

                  refused to terminate Imran Awan, confronting Capitol Police in the most

                  unprofessional of conduct, including threats of monetary appropriation being

                  withheld. Thereafter, Defendant DNC demanded her laptop be returned from

                  Capitol Police which was being held as evidence in their investigation. The

                  DNC again admitted having violated official information security protocols, but

                  maintained a confrontational demeanor in redress of the matter, entirely.



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                        p. Other matters involving the Fairfax County, Virginia police involved Samina

                             Galani8 who claimed, in advance of the breaking House story, to be bullied out

                             of her property by the Awan Brothers, stating that he was “very

                             powerful…travels with a VIP police escort in Pakistan (based on)…his political

                             power in the U.S.” The facts of the case are parallel to Plaintiff’s harms, as

                             below. The statement of being “very powerful…” gives inference to unspoken

                             facts, those of either perception of the Awan Brothers or those true and factual

                             apart from transparency.

                        q. In 2010 while working with the Defendant DEBBIE WASSERMAN SHULTZ,

                             formed an LLC (Cars International A, LLC), which Imran Awan referred to as

                             “CIA”. His former business partner described the finances involved as “bizarre

                             and complicated (money) transfers.”

                        r. One of the business transactions involved “Dr. Ali Al-Attar, who has ties to the

                             Iranian-backed terrorist group Hezbollah, and (who) fled to the Mideast to

                             avoid prosecution for tax fraud in the United States.”9

                        s. The foregoing evident facts become extremely problematic for individuals,

                             contracted or otherwise, working in IT with unfettered access to governmental

                             information including those of national security, including but not limited to

                             personal conduct, the absence of security concerns of written records and

                                               PLAINTIFF’S CAUSES OF ACTION

                            I – COMPUTER FRAUD AND ABUSE ACT (18 U.S.C. §1030(A)



 8
   Kant, Garth. The Biggest Scandal You’ve Never Heard Of. June 29, 2017, accessed April 10, 2024.
 https://www.wnd.com/2017/06-the-biggest-scandal-youve-never-heard-of/
 9
   Ibid.

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         27. Plaintiff realleges and incorporates by reference all paragraphs as set forth in the

      Amended Complaint.

         28. The Plaintiff’s computers are involved in interstate and foreign commerce and

      communication, and are protected under 18 U.S.C. §1030(e)(2).

         29. On information and belief, the Defendants, KATHY HOCHUL and LETITIA JAMES

      knowingly and internally accessed the Plaintiff’s computers without authorization or in excess

      of authorization, and thereby obtained and used valuable information from those computers in

      violation of 18 U.S.C. §1030(a)(2)(C). Such information includes, but was not limited to

      private, politically and non-partisan sensitive communications between the Plaintiff and the

      People, stakeholders, candidates and poll workers affixed to matters of the election and

      political process; confidential donor data; digital proprietary information; proprietary analysis

      and data methodology designs; Plaintiff-developed code; confidential campaign strategy plans;

      opposition and policy research; and documents regarding planned activities, events,

      fundraisers and rallies. The information was used to advance the plan to denigrate the

      Plaintiff’s actions across the United States and bolster the campaigns and/or undercurrent

      schemes by strategically leaking or taking advanced action on the proprietary information

      stolen from the Plaintiff.

         30. On information and belief, the Defendants, KATHY HOCHUL and LETITIA JAMES

      knowingly and internally gave access to the Awan Brothers to government computers without

      authorization or in excess of authorization, and thereby the Awan Brothers obtained and used

      valuable information from those computers in violation of 18 U.S.C. §1030(a)(2)(C). Such

      information includes, but was not limited to private, politically and non-partisan sensitive

      communications between the government and the People, stakeholders, candidates and poll



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      workers affixed to matters of the election and political process; confidential donor data; digital

      proprietary information; proprietary analysis and data methodology designs; government-

      developed code; confidential campaign strategy plans; opposition and policy research; and

      documents regarding planned activities, events, fundraisers and rallies. The information was

      used to advance the plan to denigrate the government protections afforded by the Constitution

      across the United States and bolster the computer peripheries, campaigns and/or undercurrent

      schemes by strategically leaking or taking advanced action on the proprietary information

      stolen from the government of the United States.

         31. Upon information and belief, the KATHY HOCHUL and LETITIA JAMES knowingly

      caused the transmission of information or a program, code, or command, and as a result of

      such conduct, intentionally caused damage without authorization, to a protected computer, in

      violation of 18 U.S.C. §1030(a)(5)(A). Such transmission included, but was not limited to, the

      use of malware on Plaintiff’s systems.

         32. Upon information and belief, the KATHY HOCHUL and LETITIA JAMES

      intentionally accessed a protected computer or computers without permission, and as a result

      of such conduct, cause damage and loss, in violation of 18 U.S.C.(a)(5)(C), or recklessly

      caused damage, in violation of 18 U.S.C. §1030(a)(5)(B).

         33. Upon information and belief, the KATHY HOCHUL and LETITIA JAMES knowingly

      and with the intent to defraud, trafficked passwords and similar proprietary information from

      the Plaintiff’s systems, and such trafficking affected interstate and foreign commerce in

      violation of 18 U.S.C. §1030(a)(6)(A).

                                RICO (18 U.S.C. §§1962 (C), (D))




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          34. Plaintiff realleges and incorporates by reference all prior paragraphs of Amended

      Complaint and paragraphs in this Opposition Motion in the harms enumerated below as though

      set forth fully herein.

          35. Defendants, the KATHY HOCHUL and LETITIA JAMES, the DNC, the RNC,

      DEBBIE WASSERMAN SCHULTZ, WILLIAM J. CLINTON and HILLARY R. CLINTON

      are all “persons” within the meaning of 18 U.S.C. §§1961(3); 1962(c), with DEBBIE

      WASSERMAN SCHULTZ acting as the primary conduit to the criminal espionage breach and

      in her capacity as DNC Chairperson. At all relevant times, Defendants conducted the affairs of

      an Enterprise -which affected interstate and foreign commerce – through a pattern of

      racketeering activity, in violation of 18 U.S.C. §1962(c). Each Defendant agreed that the

      operation would involve repeated violations of 18 U.S.C. §1831 (economic espionage); 18

      U.S.C. §1832 (theft of trade secrets); 18 U.S.C. §1503 (relating to obstruction of justice); and

      18 U.S.C. §1512 (relating to tampering with a witness, victim, or an informant).

          36. Plaintiff states that the DNC contracted with Awan Brothers, expending $5 million

      while providing absolute and total unfettered access to House Intelligence computers through

      the IT contract, those areas not contracted were hacked by the Awan Brothers. The Defendant,

      DNC in the company of Rahm Emanuel introduced the breach to these United States which

      resulted in CROWDSTRIKE, the RICO cover-up which sought to frame a sitting President,

      the Chief Executive of these United States, Donald John Trump – treasonous sedition. The

      inclusive Defendants, MERRICK GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS,

      CHRISTOPHER A. WRAY, DENIS MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA

      FUDGE, ROBERT CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS

      KEAN SR., ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J. CHRISTIE,



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      RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W.

      BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC

      HOLDER, JOSEPH R. BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI,

      GEORGE NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI,

      SEJAL HATHI, MATTHEW PLATKIN, KATHY HOCHUL, ANDREW CUOMO, LETITIA

      JAMES, SUSAN RICE, ADAM SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER

      BECERRA, JANET YELLEN, ROD ROSENSTEIN, HUMA ABEDIN, DEBBIE

      WASSERMAN SCHULTZ, BILL NELSON, the DEMOCRATIC NATIONAL COMMITTEE,

      the REPUBLICAN NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM, UNITED

      HEALTHCARE, JAMES PITTINGER, LISA SELLA, ROBERT JUNGE, the Honorable

      Judge Kaplan, the Honorable Judge Chutkan, the Honorable Judge Merchan, the Honorable

      Judge Engoron, Special Counsel Jack Smith, etc. Plaintiff reserves the right to call the

      foregoing parties as Defendants to this action.

         37. Plaintiff states that the inclusive Defendants, MERRICK GARLAND, LLOYD

      AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS MCDONOUGH,

      ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT CALIFF, WILLIAM J.

      CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR., ROBERT MUELLER, JAMES

      COMEY, CHRISTOPHER J. CHRISTIE, RICHARD “DICK” CHENEY, ELIZABETH “LIZ”

      CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK HUSSEIN OBAMA, LORETTA

      LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN, JOHN ASHCROFT,

      JAIME GORELICK, NANCY PELOSI, GEORGE NORCROSS, PHILIP MURPHY,

      TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI, MATTHEW PLATKIN, KATHY

      HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF,



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      CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD

      ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL NELSON, the

      DEMOCRATIC NATIONAL COMMITTEE, the REPUBLICAN NATIONAL COMMITTEE,

      OCCIDENTAL PETROLEUM, UNITED HEALTHCARE, JAMES PITTINGER, LISA

      SELLA, and ROBERT JUNGE, conducted and/or participated in the matters as set forth

      herein, through a pattern of racketeering activity, including acts indictable under 18 U.S.C. §

      1831 (economic espionage); and 18 U.S.C. §1832 (theft of trade secrets).

             A. Alternatively, And At the Very Least, the DNC and RNC was Part of An

                 Association-in-Fact Enterprise.

         38. Alternatively, and at the very least, the DNC and the RNC was part of an Association-

      in-Fact Enterprise comprised of the co-defendants, MERRICK GARLAND, LLOYD

      AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS MCDONOUGH,

      ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT CALIFF, WILLIAM J.

      CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR., ROBERT MUELLER, JAMES

      COMEY, CHRISTOPHER J. CHRISTIE, RICHARD “DICK” CHENEY, ELIZABETH “LIZ”

      CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK HUSSEIN OBAMA, LORETTA

      LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN, JOHN ASHCROFT,

      JAIME GORELICK, NANCY PELOSI, GEORGE NORCROSS, PHILIP MURPHY,

      TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI, MATTHEW PLATKIN, KATHY

      HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF,

      CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD

      ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL NELSON, the

      DEMOCRATIC NATIONAL COMMITTEE, the REPUBLICAN NATIONAL COMMITTEE,



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      OCCIDENTAL PETROLEUM, UNITED HEALTHCARE, JAMES PITTINGER, LISA

      SELLA, and ROBERT JUNGE, the Defendants’ employees and agents, and additional entities

      and individuals known and unknown. The Association-In-Fact Enterprise was formed until the

      present, the members of the Association-in-Fact Enterprise have worked together to further

      their mutual goal of using illegal means to secure the undercurrent scheme and its grip on

      these United States, intent on dismantling these United States, causing irreparable harm to her

      inhabitants, up to and including death.

         39. The Association-in-Fact Enterprise had an ongoing organizational framework for

      carrying out its objectives. In fact, the Association-in-Fact Enterprise could not have carried

      out its intricate task of sharing confidential information at the moments when it would be most

      beneficial to the Defendants, KATHY HOCHUL and LETITIA JAMES unless it had some

      structure for making and communication group decisions.

         40. As described above, the Defendants, KATHY HOCHUL and LETITIA JAMES

      participated in the operation or management of the Association-in-Fact Enterprise, and

      benefitted financially from the enterprise.

         41. Because the Association-in-Fact Enterprise’s activities affected electoral spending in

      2020, as well as the media response to the 2020 presidential rate, it affected interstate and

      foreign commerce.

             B. RICO Predicate Acts.

         42. Each Defendant conducted and/or participated in the affairs of the Awan Brothers in

      among the Defendants, KATHY HOCHUL and LETITIA JAMES and the Association-in-Fact

      Enterprise through a pattern of racketeering activities, including acts indictable under 18

      U.S.C. §1831 (economic espionage); 18 U.S.C. §1832 (theft of trade secrets); 18 U.S.C. §1503



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      (relating to obstruction of justice); and 18 U.S.C. §1512 (relating to tampering with a witness,

      victim, or an informant).

                 a. Economic Espionage.

         43. Beginning in the 1920’s and, specifically under the structure of BCC International (See

      ECF 45-1), originally conceived by Agha Hasan Abedi and his assistant, Swaleh Naqvi,

      through their designees, the Awan Brothers, the Defendants have repeatedly attempted – in

      many instances, successfully – to steal, and without authorization appropriate, take, carry way,

      or by fraud, artifice, or deception obtain trade secrets from the government of these United

      States, intending or knowing that doing so would benefit the global apparatus,

      instrumentalities, or agents, in violation of 18 U.S.C. §§1831(a)(1); 1831(a)(4); 18 U.S.C.

      §§1831(a)(2); 1831(a)(3); and 1831(a)(5).

         44. Beginning on or before January, 2004, the Defendants, KATHY HOCHUL and

      LETITIA JAMES without authorization, copied, duplicated, downloaded, uploaded, altered,

      destroyed, replicated, transmitted, delivered, sent, communicated, and/or conveyed Plaintiff’s

      trade secrets, intended or knowing that doing so would benefit them, their instrumentalities or

      agents, in violation of 18 U.S.C. §§1831(a)(2); 1831(a)(3); and 1831(a)(5).

         45. Beginning on or before January, 2004, the Defendants, KATHY HOCHUL and

      LETITIA JAMES gave consent to the Awan Brothers, without authorization, copied,

      duplicated, downloaded, uploaded, altered, destroyed, replicated, transmitted, delivered, sent,

      communicated, and/or conveyed Governmental trade secrets of these United States, intended

      or knowing that doing so would benefit the undercurrent scheme principally operated by

      Defendants, WILLIAM J. CLINTON and HILLARY R. CLINTON, their instrumentalities or

      agents, in violation of 18 U.S.C. §§1831(a)(2); 1831(a)(3); and 1831(a)(5).



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             b. Theft of Trade Secrets.

         46. Beginning on or before 1920’s and, specifically under the structure of BCC

      International (See ECF 45-1), originally conceived by Agha Hasan Abedi and his assistant,

      Swaleh Naqvi, through their designees, the Awan Brothers, the Defendants have repeatedly

      attempted – in many instances, successfully – to steal, and without authorization appropriate,

      take, carry way, or by fraud, artifice, or deception obtain trade secrets from the government of

      these United States, intending to convert those trade secrets, which are and were related to

      products or services used in or intended for use in interstate commerce, to the economic

      benefit of other Defendants and non-defendant coconspirators, and intending and knowing that

      the offense would injure the government of these United States, in violation of 18 U.S.C.

      §§1832(a)(1); 1832(a)(4); 18 U.S.C. §§1832(a)(2); 183(a)(3); and 1831(a)(5).

         47. Beginning on or January, 2004, the Defendants, the Defendants , KATHY HOCHUL

      and LETITIA JAMES have repeatedly attempted – in many instances, successfully – to steal,

      and without authorization appropriate, take, carry way, or by fraud, artifice, or deception

      obtain trade secrets from the government of these United States, intending to convert those

      trade secrets, which are and were related to products or services used in or intended for use in

      interstate commerce, to the economic benefit of other Defendants and non-defendant

      coconspirators, and intending and knowing that the offense would injure the government of

      these United States, in violation of, in violation of 18 U.S.C. §§1831(a)(2); 1831(a)(3); and

      1831(a)(5).

         48. Beginning on or before January, 2004, the Defendants , KATHY HOCHUL and

      LETITIA JAMES gave consent to the Awan Brothers, without authorization, copied,

      duplicated, downloaded, uploaded, altered, destroyed, replicated, transmitted, delivered, sent,



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      communicated, and/or conveyed Plaintiff’s trade secrets with the intent to convert those trade

      secrets, which are and were related to products or service used in or intended for use in

      interstate commerce, to the economic benefit of themselves and the other Defendants and non-

      defendant coconspirators, and intending and knowing that the offense would injure the

      Plaintiff in violation of 18 U.S.C. §§1831(a)(2); 1831(a)(3); and 1831(a)(5).

         c. Obstruction of Justice.

         49. As explained in detail in the amended complaint and herein, the Defendants and non-

      defendant coconspirators repeatedly obstructed justice in violation of 18 U.S.C. §1503,

      including on the dates set forth below.

         50. Beginning on or before January, 2004, the Defendants, KATHY HOCHUL and

      LETITIA JAMES corruptly endeavored to obstruct and impeded – and did obstruct and

      impede – the due administration of justice, in violation of 18 U.S.C. §1503(a).

         51. Beginning on or before January, 2004, the co-defendants, MERRICK GARLAND,

      LLOYD AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS

      MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT CALIFF,

      WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR., ROBERT

      MUELLER, JAMES COMEY, CHRISTOPHER J. CHRISTIE, RICHARD “DICK”

      CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK

      HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R.

      BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE

      NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI,

      MATTHEW PLATKIN, KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN

      RICE, ADAM SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET



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      YELLEN, ROD ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ,

      BILL NELSON, the DEMOCRATIC NATIONAL COMMITTEE, the REPUBLICAN

      NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM, UNITED HEALTHCARE,

      JAMES PITTINGER, LISA SELLA, and ROBERT JUNGE corruptly endeavored to obstruct

      and impede – and did obstruct and impede – the due administration of justice, in violation of

      18 U.S.C. §1503(a)

                  d. Witness Tampering.

          52. As explained in detail in the amended complaint and herein, the Defendants and non-

      defendant coconspirators repeatedly obstructed official proceedings in violation of 18 U.S.C.

      §§1512), (k), and 1512(c)(2), including on the dates set forth below.

          53. Beginning on or before January, 2004, the Defendants, KATHY HOCHUL and

      LETITIA JAMES corruptly altered, destroyed, mutilated, or concealed a record, document, or

      other object with the intent to impair the object’s integrity or availability for use in an official

      proceeding, including elections, in violation of 18 U.S.C. §§1512(c)(1), (k) and 1512(c)(2).

          54. Beginning on or before January, 2004, the Awan Brothers by way of access provided

      by the Defendants, KATHY HOCHUL and LETITIA JAMES, corruptly altered, destroyed,

      mutilated, or concealed a record, document, or other object with the intent to impair the

      object’s integrity or availability for use in an official proceeding, including elections, in

      violation of 18 U.S.C. §1512(c)(1), (k), and 1512(c)(2).

                                WIRETAP ACT (18 U.S.C. §§2510-22)

          55. Plaintiff realleges and incorporates by reference all prior paragraphs of Amended

      Complaint and paragraphs in this Opposition Motion in the harms enumerated below as though

      set forth fully herein.



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          56. Each of the above-listed Defendants is a “person” within the meaning of 18 U.S.C.

      §§2510, 2511.

          57. In violation of 18 U.S.C. §2511(1)(c), the Defendants, KATHY HOCHUL and

      LETITIA JAMES willfully and internationally endeavored to disclose and did disclose the

      contents of Plaintiff’s wire, oral, or electronic communications, knowing or having reason to

      know that the information was obtained through the interception of wire, oral, or electronic

      communications in violation of 18 U.S.C. §2511.

          58. Plaintiff had a justifiable expectation that its wire, oral, or electronic communications

      were not subject to interception.

          59. Plaintiff is a “person” whose wire, oral, or electronic communications were intercepted

      within the meaning of 18 U.S.C. §2520.

          60. As a direct result of the Defendants KATHY HOCHUL and LETITIA JAMES; actions,

      Plaintiff suffered irreparable harm to its business and property and is entitled to an award of

      the greater of the actual damages suffered or the statutory damages and injunctive relief

      pursuant to 18 U.S.C. §2520(c). This harm includes, but is not limited to, harm to computers,

      servers, harm to Plaintiff reputation, loss in the value of trade secrets, and business

      information, and harm to business as described above.

          61. As a direct result of the Defendants, KATHY HOCHUL and LETITIA JAMES’

      actions, these United States has suffered irreparable harm to its core constitutional principles,

      including but not limited to the threat to national security, Plaintiff is entitled to punitive

      damages and reasonable attorneys’ fees and costs pursuant to 18 U.S.C. §§2520(b)(2) and (3).

                  STORED COMMUNICATIONS ACT (18 U.S.C. §§2701-12)




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         62. Plaintiff realleges and incorporates by reference all prior paragraphs of the amended

      complaint and paragraphs within the Opposition Motion hereto as set forth fully herein.

         63. Plaintiff is a “person” within the meaning of 18 U.S.C. §§2510(6) and 2707(a).

         64. The Defendants, KATHY HOCHUL and LETITIA JAMES willfully and intentionally

      provided venue of access to the Awan Brothers without authorization to a facility through

      which an electronic communication service is provided, namely the governmental computer

      systems, including their email servers, thereby obtaining access to wire or electronic

      communications while they were in electronic storage in such systems, in violation of 18

      U.S.C. §2701(a).

         65. The Defendants, KATHY HOCHUL and LETITIA JAMES willfully and intentionally

      accessed without authorization to a facility through which an electronic communication

      service is provided, namely the Plaintiff’s computer systems, including their email servers,

      including collaboration in and among 3rd parties, thereby obtaining access to wire or electronic

      communications while they were in electronic storage in such systems, in violation of 18

      U.S.C. §2701(a)

         66. As a result of these willful and intentional violations, Plaintiff has suffered damages

      and, as provided for in 18 U.S.C. §2707, seeks an award of the greater of the actual damages

      suffered or the statutory damages; punitive damages; attorneys’ fees, and other costs of this

      action; and appropriate equitable relief.

              DIGITAL MILLENNIUM COPYRIGHT ACT (17 U.S.C. §1201 ET. SEQ.)

         67. Plaintiff realleges and incorporates by reference all prior paragraphs of the amended

      complaint and paragraphs within the Opposition Motion hereto as set forth fully herein.




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         68. Plaintiff’s computer networks and files contained information subject to protection

      under the copyright laws of the United States, including campaign strategy documents and

      opposition research that the Defendants, KATHY HOCHUL and LETITIA JAMES illegally

      accessed without authorization.

         69. Access to the copyrighted material contained on the Plaintiff’s computer networks and

      email was controlled by technological measures, including measures restricting remote access,

      firewalls, and measures restricting access to users with valid credentials and passwords.

         70. In violation of 17 U.S.C. §1201(a), the Defendants, KATHY HOCHUL and LETITIA

      JAMES circumvented these technological barriers by stealing credentials from authorized

      users, conducting a “password dump” to unlawfully obtain passwords to the system controlling

      access to the Plaintiff’s domain, and installing malware on Plaintiff’s computer systems.

         71. In violation of 17 U.S.C. §1201(a), the Defendants, KATHY HOCHUL and LETITIA

      JAMES circumvented these technological barriers by stealing credentials from authorized

      users, conducting a “password dump” to unlawfully obtain passwords to the system controlling

      access to the governmental domain, and installing malware on governmental computer

      systems of and belonging to these United States including but not limited to those relating to

      elections.

         72. The Defendants, KATHY HOCHUL and LETITIA JAMES’ conduct caused the

      Plaintiff significant damages. These damages including, but are not limited to, damage

      resulting from harm to the Plaintiff’s computers, loss of the value of Plaintiff’s trade secrets

      and business information, and harm to business enterprise as described above. Plaintiff is

      entitled to the greater of its actual damages or statutory damages as provided by 17 U.S.C.

      §1203, in an amount to be proven at trial.



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          73. Plaintiff is entitled to an award of attorneys’ fees and costs as provided by 17 U.S.C.

      §1203.

                                          VOTER CAGING

          74. Plaintiff realleges and incorporates by reference all prior paragraphs of the amended

      complaint and paragraphs within the Opposition Motion hereto as set forth fully herein

      restates.

          75. Plaintiff analyzed the election data in New Jersey from 2020 – 2023.

          76. Plaintiff states her claims regarding the history of the Democratic National Committee

      v. Republican National Committee, 671 F. Supp. 2d 575, 579 (D.N.J. 2009)). From the

      aforementioned election analysis, as provided in EXHIBIT 3, the report states clearly that the

      turnout percentages reflect limited change, despite registration increasing. In point of fact, the

      various voting options appear to have deterred voter turnout. These data driven observations

      are consistent with the dropbox video recordation viewing, where ballots could be clearly

      visible as being inserted.

          77. Plaintiff reasserts as provided for in the amended complaint supplements, the over

      registration did not occur nationwide until 2007.

          78. Plaintiff states that the ongoing investigative malfeasance serves to disenfranchise

      voters. Plaintiff states that this a component of the BCC International design and mapping,

      causation in the failure of nation-state structure.

                                       HARMS STATEMENT

          79. The Plaintiff was forced to close her offices when the following four events transpired:

          a. Defendant, CHRISTOPHER J. CHRISTIE’s property management firm contacted the

      Plaintiff’s spouse for contracted services at his commercial property twice, once in 2022 and



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      once in 2023. Plaintiff reiterates the herein claims of tampering and intimidation. Plaintiff

      does not yield.

         b. Defendant, CHRISTOPHER WRAY’s designees contacted Plaintiff’s spouse for

      contracted services twice at their private residence, once in 2022, and once in 2023. Individual

      gave Plaintiff’s spouse and her son CIA token coins and made it a point to expound on touring

      his trophy office which included an array of photos with former Presidents, Senators, etc.

      Plaintiff retains one such token outside of residence, the other thrown in the garbage. Plaintiff

      reiterates the herein claims of tampering and intimidation. Plaintiff does not yield.

         c. Plaintiff’s client, “Mrs. X,” came to her in 2019, her life was endangered with a

      spousal restraining order, seeking assistance in her matrimonial matter with contracted forensic

      investigative work product requested. Upon completion of the retained contract, Plaintiff

      herself was made to feel threatened. The investigative work product clearly indicated false

      identities, fictitious entities, and money laundering, including mortgage fraud, securing credit

      cards in false or fictitious names, and securing social security numbers using fictitious names.

      Plaintiff advised “Mrs. X” to provide the forensic records to her matrimonial attorney for

      handling. The client was so fearful for her circumstances and those of her daughters that she

      withdrew the matrimonial matter altogether. Finding no choice, absent any contractual

      relationship, Plaintiff provided vocational recommendations and community support programs

      for abused women; after confirming the Mrs. X and her daughters were safe, the interact

      terminated. The parallels between the personal experience of the Plaintiff and the Awan

      Brothers victim, Mrs. Galani, are distinctly similar, exceeding coincidence. At the time of the

      Plaintiff’s interaction, knowledge regarding BCC International, etc. was not present.




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          d. In December, 2021, Plaintiff received a client inquiry from “Mr. Y” claiming to be in

      dire circumstance of mortgage foreclosure, a Russian immigrant who formerly owned a check-

      cashing entity. When Plaintiff declined to engage a retainer, Mr. Y contacted the Plaintiff no

      less than three times until the phone number was blocked Plaintiff’s computers are involved in

      the conduct of business in interstate, foreign commerce, federal and state as well as private

      agency communications, and the computers are protected under 18 U.S.C. §1030(e)(2).

          80. Plaintiff, having first-hand knowledge and experience with “Mrs. X” with both she and

      her spouse emigrating from Pakistan. The facts and Exhibits presented in the Plaintiff’s Final

      Supplement in Support of the Amended Complaint, EFC Doc. 50, attached hereto, Plaintiff

      restates each and every claim presented.

          81. Plaintiff has been unwittingly made part to the fraud perpetrated by the Defendants

      above named in the negotiation of real property among parties and with banking entities who

      were associated and financially derived benefit from Plaintiff’s services, in some cases

      services were unpaid due to federal HUD disclosure rules.

          82. Plaintiff states that the manifest personal harm caused by the inclusive Defendants by

      fortifying the history of lies and malfeasance while buttressing the sheer ineptitude of

      Defendant, JOSEPH R. BIDEN is causational in the palpable disclosure of Plaintiff’s risk to

      personal life, liberty, and property.

          83. Plaintiff states that the lawfare being waged by designees of the Defendant, JOSEPH

      R. BIDEN against his opponent in the presidency of these United States, has and continues to

      disenfranchise voters; the blatant abuse of Article II authority in stacking the deck among in

      and among the 3-branches of government, each with a history of compromised, bartered or

      political blackmail obligations, serves to dismantle democracy. Plaintiff states injury resulting



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      from harm to her protected Civil Rights including but not limited to privacy rights, as stated

      herein, and including but not limited to the Help America Vote Act (“HAVA”).

         84. Plaintiff holds very specific degrees of study which were applied in the analysis of the

      findings associated with nuclear trafficking and data triangulation; applying those findings

      with the events involving Iran and Israel, Plaintiff restates harms as below:

                 a. These United States are unquestionably in a Constitutional crisis, at the hands

                     of the Defendants,

                 b. The absence of Executive action in the interest of avoiding further global strife

                     and confrontation exposes a national security crisis. Citing Plaintiff’s

                     knowledge, carefully sourced and affirmed data findings, Plaintiff holds that her

                     personal life, liberty, and property are in grave jeopardy.

                 c. Plaintiff states that the volume of public private partnership agreements that

                     result in outsourcing security, including but not limited to Accenture as

                     provided for in the supplements to the amended complaint, See EFC 46, p.14,

                     which include known impositions that have already resulted, and are continuing

                     to be at great risk to Plaintiff’s reasonable expectation of life, liberty, and

                     property. The subject agreements are outsourcing the constitutional checks and

                     balances affixed to sovereign vote, accountability, cost, and expense escalation

                     as well the consequence on Plaintiff’s rising housing costs.

                 d. The unfettered accountability on the part of the Defendants, KATHY HOCHUL

                     and LETITIA JAMES as well the co-Defendant, BARACK HUSSEIN

                     OBAMA, GEORGE W. BUSH, WILLIAM J. CLINTON and HILLARY R.

                     CLINTON and the known treasonous actions as represented in the amended



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                        complaint and supplements hereto have provided and continue to provide great

                        risk of harm to Plaintiff’s Civil Rights and life, liberty, and property.

        WHEREFORE, Plaintiff demands judgment against Defendants on all counts, and seeks such

 relief as specified below for all allegations for which such relief is provided by law:

                a. Awarding Plaintiff damages in an amount to be determined, including but not

                    limited to all damages and losses suffered by Plaintiff as a result of the illegal

                    hacking, theft, and subsequent release of Plaintiff’s confidential documents and/or

                    Plaintiff’s response to and remediation related thereto;

                b. Rewarding Plaintiff compensatory and treble damages, as available, in an amount

                    to be proven by trial;

                c. Awarding Plaintiff the financial fain earned by Defendants as a consequence of the

                    violations described herein;

                d. Awarding Plaintiff statutory damages, as available;

                e. Awarding Plaintiff punitive damages, as available;

                f. Issuing a declaration that: Defendants, according to proof, conspired to and did

                    damage in a common scheme to affect the illegal and unauthorized hacking of

                    Plaintiff’s computer systems and/or personal emails and the exfiltration of

                    confidential information; disseminated that stolen information to the extraneous

                    parties; and used that disclosed stolen information for their own gain;

                g. Issuing an injunction restraining Defendants, and their officers, agents, servants,

                    employees, assigns, and those acting in active concert or participation with them

                    from:




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                           i. Assessing Plaintiff’s computer networks and/or personal emails

                               without Plaintiff’s authorization;

                           ii. Engaging in any activity that disrupts, diminishes the quality of,

                               interferes with the performance of, or impairs the functionality of

                               Plaintiff’s computer networks or personal emails; and

                          iii. Selling, publishing, distributing, or using any property or

                               information obtained from Plaintiff’s computer networks or personal

                               emails without Plaintiff’s authorization;

                          iv. Removing, extracting, or copying any information or data from

                               Plaintiff’s computer or personal emails without Plaintiff’s

                               authorization;

            h. Awarding Plaintiff all costs and attorneys’ fees to the full extent permitted under

               applicable law;

            i. Awarding Plaintiff pre-and post-judgment interest as permitted by law;

            j. Awarding any other relief as the Court may deem just and proper.




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                                   CERTIFICATION OF SERVICE

        Plaintiff, Mary Basile Logan, hereby certifies that on this 16 th day of April, 2024, I

 electronically filed the foregoing Plaintiff’s Opposition to Defendants’ Motion to Dismiss the

 Complaint with the Clerk’s office of the U.S. District Court for the District of New Jersey using the

 Electronic Case Filing (“ECF”), to be served upon the Defendant, Kathy Hochul and Letitia James,

 same being notice of electronic filing to the following:

 Letitia James                 Frances Polifione
 Attorney General, NY          Asst. Attorney General, NY
 28 Liberty Street
 New York, NY 10005




 Dated April 15, 2024
                                                               Respectfully submitted,

                                                               /s/Mary B. Logan______
                                                               Mary Basile Logan
                                                               Plaintiff (Pro Se)

 cc:    All Counsel of Record (Via ECF)




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